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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF NEW MEXICO

HUMAN RIGHTS DEFENSE CENTER,
a not-for-profit corporation,                                   Case No.: 18-CV-00305

                        Plaintiff,                              NOTICE OF GOOD STANDING
v.

(1) SANTA FE COUNTY, NM;

(2) DEREK WILLIAMS, Warden,
individually and in his official capacity;

(3) MICHAEL OLIVER, Deputy Warden,
individually and in his official capacity;

(4) CARLOS MARKMAN-LOPEZ, Major,
individually and in his official capacity; and

(5) JOHN AND JANE DOES 1-10, Staff,
individually and in their official capacities,

                        Defendants.


        I, LAURA SCHAUER IVES, a partner at the law firm of Kennedy Kennedy and Ives,

and local counsel in the above entitled matter, hereby state:

        1.      Out of district attorney Bruce E.H. Johnson is an attorney in Good Standing with

                the state bars of California and Washington.

        I declare that these facts are true and correct to the best of my knowledge and belief.

Dated: April 16, 2018

                                                 Respectfully Submitted,

                                                 KENNEDY KENNEDY & IVES

                                                 /s/ Laura Schauer Ives
                                                 Laura Schauer Ives
                                                 Attorney for Plaintiff
                                                 1000 2nd Street NW
                                                 Albuquerque, NM 87102
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                                            (505) 244-1400 / Fax (505) 244-1406
                                            lsi@civilrightslaw.com

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 16, 2018, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification to all

counsel of record.

/s/ Laura Schauer Ives
Laura Schauer Ives




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